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                                             United States District Court
                                            Western District of Washington




                                                                       Case Number: 3:20-cv-05216-RBL
 CURTIS PEDERSON

 Plaintiff(s)                                                          APPLICATION FOR LEAVE TO APPEAR
                                                                       PRO HAC VICE
 V.


 NOVARTIS PHARMACEUTICALS
 CORPORATION
 Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
Raymond C. Silverman                         hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:

 Curtis Pederson

The particular need for my appearance and participation is:

 I am one of the co-lead attorneys involved in the investigation, drafting, and, with permission of this
 Court, litigation of the matter before the court.



I, Raymond C. Silverman                                  understand that I am charged with knowing and complying with
all applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.



Date: 3/23/2020                                          Signature of Applicant: s/
                                                                                        Raymond C. Silverman

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Pro Hac Vice Attorney

Applicant's Name:                     Raymond C. Silverman
Law Firm Name:                        Parker Waichman LLP
Street Address 1:                     6 Harbor Park Drive
Address Line 2:

City: Port     Washington                                   State: NY               Zip:   11050
Phone Number w/ Area Code 516-466-6500            Bar #                            3033743       State   NY
Primary E-mail Address: rsilverman@yourlawyer.com
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)
                                   rrapisarda@yourlawyer.com; oxx@yourlawyer.com; hbiggs@yourlawyer.com
Secondary E-mail Address:



                                           STATEMENT OF LOCAL COUNSEL

I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant Raymond C. Silverman                                     is unable to be present upon any date
assigned by the court.
                                                                                Brad J. Moore
Date: 03/23/20                        Signature of Local Counsel: s/

Local Counsel's Name:                 Brad J. Moore
Law Firm Name:                        Stritmatter Kessler Koehler Moore
Street Address 1:                     3600 15th Avenue West
Address Line 2:                       Suite 300
City: Seattle                                               State: WA               Zip:   98119
Phone Number w/ Area Code 206-448-1777                                    Bar #    21802




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                                       Electronic Case Filing Agreement




    By submitting this form, the undersigned understands and agrees to the following:

   1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
      notices.

   2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
      Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
      against unauthorized use.

   3. If you have any reason to suspect that your password has been compromised in any way, you are
      responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

   4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
      receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
      5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
      electronic notice of the entry of an order or judgment.

   5. You will continue to access court information via the Western District of Washington's internet site or
      through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
      login and password, will be required to electronically file. You can register for PACER access at their web
      site: www.pacer.gov.

   6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
      most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
      changes or additions that may be made to such administrative procedures in the future.


     Date Signed     3/23/2020 Signature s/ Raymond C. Silverman
                                                              (Pro Hac Vice applicant name)




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